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 8                            UNITED STATES DISTRICT COURT
 9                             DISTRICT COURT OF COLUMBIA
10                            (HONORABLE BERYL A. HOWELL)
11
     UNITED STATES OF AMERICA,                  )        CASE NO. 16cr00229-BAH
12                                              )
                               Plaintiff,       )
13                                              )
     v.                                         )
14                                              )        DEFENDANT’S RESPONSE TO THE
     RUBEN OSEGUERA-GONZALEZ,                   )        GOVERNMENT’S OBJECTION TO
15                                              )        DEFENDANT’S PROPOSED JURY
                               Defendant.       )        INSTRUCTION ON MULTIPLE
16                                              )        CONSPIRACIES
                                                )
17                                              )
                                                )
18                                              )
19

20         TO: KATE M. NASEEF, TRIAL ATTORNEY, UNITED STATES ATTORNEY’S
               OFFICE; JONATHON HORNOK, TRIAL ATTORNEY, UNITED STATES
21             ATTORNEY’S OFFICE; AND KAITLIN SAHNI, ACTING DEPUTY CHIEF,
               UNITED STATES ATTORNEY’S OFFICE:
22
                                                    I.
23
          DEFENDANT’S RESPONSE TO THE GOVERNMENT’S OBJECTION TO
24          DEFENDANT’S PROPOSED JURY INSTRUCTION ON MULTIPLE
                               CONSPIRACIES
25
           The Government concedes that if after all the evidence has been presented the Court
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     were to find that a multiple conspiracy instruction is appropriate, the Court must provide a
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     multiple conspiracy instruction. See ECF No. 180 at 1. The Government objects to
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     Defendant’s proposed jury instruction based upon the Ninth Circuit pattern jury instruction,
                                                    1
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 1   and proposes the following instruction based upon United States v. Gantt, 617 F.2d 831
 2   (D.C. Cir. 1980):
 3         You may find the defendant guilty only if you find that he was a member of the
 4   particular conspiracy charged in Count One. If you find that the defendant was only a
 5   member of another conspiracy, not the one charged in Count One, you must find the
 6   defendant not guilty.
 7   See ECF 180 at 3.
 8         Mr. Oseguera-Gonzalez agrees with the Government’s proposed instruction based
 9   upon Gantt with a slight modification as follows:
10         You may find the defendant guilty only if you find that the Government has proven
11   beyond a reasonable doubt he was a member of the particular conspiracy charged in Count
12   One. If you find that the defendant was only a member of another conspiracy, not the one
13   charged in Count One, you must find the defendant not guilty.
14                                       CONCLUSION
15         For the reasons stated above, Mr. Oseguera-Gonzalez moves this Court to grant his
16   request.
17                                            Respectfully submitted,
18                                            /s/ Anthony E. Colombo, Jr.
19   Dated: August 30, 2024                   ANTHONY E. COLOMBO, JR.
20                                            Attorney for Mr. Oseguera-Gonzalez
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